Case 2:13-cv-00193 Document 1145-9 Filed on 04/11/19 in TXSD Page 1 of 33




        Attachment A to
        Pérez Declaration
  Case 2:13-cv-00193 Document 1145-9 Filed on 04/11/19 in TXSD Page 2 of 33



CASE:     Veasey v. Abbott                                                     ATTORNEYS' FEES FORM
DOCKET NO: No. 2:13-cv-193

Myrna Pérez
   Date       Task Performed                                                   Total   Requested Hours
                                                                               Hours
  6/26/2013 Review Veasey v. Perry Complaint (.8); internal meeting re:        3.6     1.3
            staffing litigation (.5); review & respond via emails & calls
            regarding SB 14 (2.3)
  6/27/2013 Call with litigators re: Shelby County (1); review & discuss       3.8     2.8
            attorney research on VRA discriminatory intent findings (.9);
            confer w/ co-counsel re: SB 14 (1.9)
  6/28/2013 Meet with V.Agraharkar re:VRA discriminatory intent findings 1.6           1.6
            (1); review and respond to emails re: same (.6)
   7/2/2013 Confer with co-counsel re: SB 14 response (1)                      1       0
   7/3/2013 Review and respond to emails re: DOJ role in case (.2)             0.2     0.2
   7/5/2013 Review and respond to emails re: attorney research VRA             0.8     0.8
            discriminatory intent findings (.8)
  7/11/2013 Meet with V. Agraharkar re: VRA discriminatory intent              3       1
            findings (1); confer with co-counsel re: Shelby County impact
            on case (1); confer w VRA litigators re:post-Shelby cases and
            fact patterns (1)
  7/15/2013 Correspond with client MALC re: SB 14 (.3)                         0.3     0.1
  7/25/2013 Review and respond to emails re: DOJ position on SB 14 (.1)        0.1     0.1
  7/29/2013 Review Supreme Court judgement re: filing fees (.1); review        0.2     0.2
            emails re: same (.1)
   8/5/2013 Confer w/ co counsel re: next steps in litigation (1.0); review    1.2     0.2
            and respond to emails re: attorney research on locations of
            impacted individuals (.2)
  8/14/2013 Call with potential co-counsel regarding joining case (.5)         0.5     0.5
  8/15/2013 Confer with co-counsel and DOJ attorneys re: filing (.5); call     1.5     1.5
            with Lawyers Committee and E. Rosenberg re: potential co-
            counsel joining case (1)
  8/19/2013 Review and respond to emails re: preparation for call on           2.6     3.1
            plaintiffs (.3); call with M. Posner, E. Rosenberg, J. Garza re:
            plaintiffs (.5); reviewing and editing draft complaint (1.8)
  8/21/2013 Review and edit co-counsel agreement (.9)                          0.9     0.9
  8/26/2013 Confer w/ co-counsel re: co-counsel agreement (.6); confer         1.1     0.2
            with E. Rosenberg re: co-counsel coordination (.3); review and
            respond to emails re: name match training (.2)


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Case 2:13-cv-00193 Document 1145-9 Filed on 04/11/19 in TXSD Page 3 of 33



8/27/2013 Call with E. Rosenberg and others re: complaint (.5); call with 2         2
          potential co-counsel re: complaint (.5); call with J. Sullivan
          and others re: Houston election and SB 14 implementation (.5);
          review and respond to emails re: Houston election and SB 14
          implementation (.1); review and respond to emails re:
          possibility of intervening in case (.1); review map of possible
          areas of high impact of SB 14 (.3)
8/28/2013 Review John Roberts to AG memo (.2); review co-counsel          0.5       0.5
          agreement (.3)
8/29/2013 Review revised complaint (.6); review and respond to emails         1.5   1.5
          re: plaintiff outreach (.3); review and respond to emails
          regarding revisions to complaint (.6)
8/30/2013 Review emails re: plaintiff outreach updates (.2) review and        1.2   1.2
          identify Texas locations of interest (1)
 9/1/2013 Review and respond to emailsB9:B26 re: plaintiff outreach (.2)      0.2   0.2
 9/3/2013 Confer with w co-counsel re: re: revisions to complaint &           1.5   1.5
          plaintiff outreach (1.5)
 9/4/2013 Call with J. Garza and others re: plaintiff outreach (.5); review   2.3   1.2
          and respond to emails re: plaintiff outreach & Texas law (.4);
          review and respond to emails re: conflicts check (.1); meet
          with V. Agraharkar re: plaintiff outreach & intake (.3); call
          with E. Rosenberg regarding further proceedings (1.0)

 9/5/2013 Call with potential partner on the ground re: plaintiff outreach    0.5   0.5
          (.5)
 9/6/2013 Review and respond to emails re: co-counsel agreement (.2)          0.2   0.2
 9/9/2013 Review and respond to emails re: plaintiff outreach (.1); call      0.4   0.4
          with V. Agraharkar re: plaintiff outreach (.3)
9/10/2013 Review flyer re: plaintiff outreach (.2); review and respond to     0.4   0.4
          emails re: plaintiff outreach (.2)
9/11/2013 Review and compile internal revisions re: complaint & co-           0.9   0.4
          counsel agreement (.3); call with E. Rosenberg, M. Posner, and
          J. Garza re: complaint & co-counsel agreement (.5); review
          and respond to emails re: plaintiff outreach (.1)
9/12/2013 Review and revise complaint (1.5); review and respond to            1.6   1.6
          emails re: flyer for plaintiff outreach (.1)
9/13/2013 Confer w/ co-counsel re: complaint (.3)                             0.3   0.3
9/17/2013 Confer with co-counsel re: filing complaint (.3)                    0.3   0
9/18/2013 Meeting by phone with DOJ and Texas re: Rule 26 conference          0.9   0.5
          (.4); review pro hac vice, co-counsel agreements, and retainers
          (.5)
9/20/2013 Confer w/ all counsel Rule 26 issues (.5); confer w/ non-DOJ        1     0
          Ps re: Rule 26 issues (.5)

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 Case 2:13-cv-00193 Document 1145-9 Filed on 04/11/19 in TXSD Page 4 of 33



 9/23/2013 Confer w/ co counsel re: filing (.5)                               0.5    0
 9/24/2013 Review and respond to emails from co-counsel re: experts (.3)      0.3    0.3
 9/25/2013 Review voter education flyer re: ID requirements (.1); review      1.3    0.3
           and respond to emails from clients re: Section 2 and causality
           (.2); call with private plaintiffs and DOJ re: hearing (1)
 9/26/2013 Call with potential partner re: Texans without SB 14 ID (.5)       0.5    0.3
 9/27/2013 Confer w/ co-counsel and DOJ attys re: trial preparation (.6);     0.8    0.8
           Review and provide feedback to J. Clark re: voter education
           intake questionnaire for outreach partner organization (.2)
 10/1/2013 Confer w private plaintiffs re: trial preparation (.5); confer with 1.3   0.3
           co-counsel re: prep for private plaintiffs call (.5); Review
           Section 2 proof points draft document (.2); review and respond
           to emails from V. Agraharkar re: outreach to individuals
           without SB 14 ID (.1)
 10/2/2013 Review and respond to emails re: DOJ motion for stay (.2);          0.7   0
           Confer with co-counsel re: reply to DOJ's motion for a stay (.5)
 10/3/2013 Review and respond to emails from co-counsel re: reply to          0.3    0.2
           DOJ motion for a stay (.1); Review notes from court
           conference re: motion for a stay (.2)
 10/4/2013 Review and respond to emails re: court conference on stay (.2).    0.2    0
 10/8/2013 Meet with V. Agraharkar re: preparation for resentation to         0.5    0.5
           clients (.5)
 10/9/2013 Review and respond to emails re: outreach to individuals           0.3    0.2
           impacted by SB 14 (.2); review email re: trial schedule (.1)
10/11/2013 Review and respond to emails re: letter to True the Vote (.3);     0.5    0.2
           call with J. Clark re: court conference regarding stay (.2)
10/15/2013 Review memo and meet with J. Clark re: vote denial research        0.8    0.8
           (.3); draft language re: vote denial (.5)
10/17/2013 Confer w/ co counsel and private plaintiffs re: scheduling (.4);   0.5    0.1
           review notes on call re: Section 2 claims (.1)
10/23/2013 Review and respond to emails re: identifying impacted              0.1    0.1
           individuals (.1)
10/24/2013 Meet with Y. Melville, V. Agraharkar, and J. Clark re:             0.3    0.3
           identifying impacted individuals (.3)
10/25/2013 Confer w/ Co-counsel re: Rule 26 conference (.3); Call with        0.7    0.1
           DOJ and private plaintiffs re: same (.3); review and respond to
           emails re: Texas Motion to Dismiss (.1)
10/28/2013   Rule 26(f) telephonic conference (.5)                            0.5    0
10/29/2013   Review attorney research re: vote denial cases (.2)              0.2    0.2
10/30/2013   Confer w/ Co-counsel re: Motion to Dismiss (.5)                  0.5    0
10/31/2013   Review and respond to draft Response to Motion to Dismiss        0.4    0
             (.3); review DOJ proposed Rule 26f report and schedule (.1)
                                                                                         4
 Case 2:13-cv-00193 Document 1145-9 Filed on 04/11/19 in TXSD Page 5 of 33



 11/1/2013 Review and respond to emails re: Rule 26 filing submission         0.4   0.2
           (.2); review and respond to V. Agraharkar work re: plaintiff
           outreach (.2)
 11/4/2013 Revew and respond to emails re: Rule 26(f) report and              0.3   0
           proposed schedule (.3)
 11/6/2013 Confer w/ Co-counse re: affected person outreach (.7); call        0.8   0.1
           with V. Agraharkar re: affected person outreach (.1)
 11/7/2013 Review and respond to emails re: research on response to           0.5   0.5
           Motion to Dismiss (.5)
11/11/2013 Confer w/ Co-counsel re: experts (.8)                              0.8   0
11/13/2013 Confer w/ Co-counsel re: Ortiz v. Steen complaint (.5); review     0.7   0.2
           and respond to emails from V. Agraharkar re: affected person
           outreach (.2)
11/14/2013 Call with co-counsel re: intervention motion (.1)                  0.1   0.1
11/15/2013 Confer with co-counsel with court re: scheduling (.2); review      1.1   0
           and respond to emails re: agrenda for joint call with private
           plaintiffs (.2); Initial pretrial conference (.7)
11/16/2013 Review and respond to emails re: experts; call with E.             0.7   0
           Rosenberg and M. Posner re: same (.7)
11/18/2013 Confer w/ co counsel and pp lawyers re: disclosures, motion to     1     0.5
           dismiss, experts (.5); review and respond to emails re: brief
           opposing motion to dismiss (.3); meet with V. Agraharkar re:
           initial disclosures (.2)
11/19/2013 Meet with V. Agraharkar, J. Clark re: initial disclosures brief    0.2   0.2
           (.2)
11/20/2013 Review draft Response to Motion to Dismiss (.5); Call with J.      1.4   0.9
           Clark re: same (.1); review and respond to emails re: legal
           research on prudential standing (.5); review and respond to
           emails re: draft public records request 2013 general election
           (.2); call with V. Agraharkar re: affected persons outreach (.1)

11/21/2013 Review and revise draft Response to Motion to Dismiss (1.5);       2.2   0.2
           review and respond to emails re: Veasey response to motion to
           dismiss (.5); call with E. Simpson re: same (.1); review and
           respond to emails re: plaintiff outreach (.1)
11/22/2013 Review draft response to motion to dismiss (1); review and         1.4   0.1
           respond to emails re: same (.2); Confer w/ co-counsel re: same
           (.1); review and respond to emails re: plaintiff ourtreach (.1)
11/24/2013   Review and respond to emails re: plaintiff outreach (.1)         0.1   0.1
 12/3/2013   Confer w/ Co-counsel re: experts (.3)                            0.3   0
 12/8/2013   Call w/ E. Rosenberg and M. Posner re purpose issues (.8)        0.8   0
12/12/2013   Confer w/ Co-counsel and M. Barretto re: expert work (1)         1     0

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 Case 2:13-cv-00193 Document 1145-9 Filed on 04/11/19 in TXSD Page 6 of 33



12/18/2013   Confer w/ Co-counsel; D. Chatman re: expert work (1)             1     0
12/20/2013   Confer w/ Co-counsel re: strategy (.3)                           0.3   0
12/23/2013   Call with co-counsel re: strategy (.5)                           0.5   0.5
  1/2/2014   Confer w/ Co-counsel re: strategy (.5)                           0.5   0
  1/7/2014   Confer w/ Co-counsel re: Chatman (.5); call with D. Chatman,     1     0
             J. Clark, and V. Agraharkar re: experts (.5)
 1/13/2014 Call with M. Geever re: strategy for doc review (.5)               0.5   0.5
 1/16/2014 Call with A. Stubbs, V. Agraharkar, J. Clark re: plaintiff         0.5   0.5
           outreach (.5)
 1/17/2014 Draft email re: draft call agenda (.2); Confer w/ Co-counsel re:   0.7   0.2
           affected persons and jurisprudential decisions (.5)
 1/19/2014 Draft email re: DOJ databases (0.1)                                0.1   0.1
 1/20/2014 Review and respond to emails re: DOJ draft supplemental            1     0
           protective order (.5); Confer w/ Co-counsel re: protective order
           (.5)
 1/21/2014 Review and respond to emails re: scheduling calls (.1)             0.1   0.1
 1/23/2014 Confer w/ Co counsel and private plaintiffs re: database issues    1.7   0.7
           (1); Call with J. Clark re: Section 2 matters (.5); Review and
           respond to emails re: jurisprudential issues, contracts with
           researcher (.2)
 1/24/2014 Review and respond to emails re: DOJ algorithms (.3)               0.3   0
 1/25/2014 Review and respond to emails re: DOJ algorithms (.2)               0.2   0.2
 1/27/2014 Review and respond to emails re: jurisprudential research with     0.2   0.1
           S. Rosdeitcher (.1); Draft email re: DOJ matching protocols
           (.1)
 1/28/2014 Call with potential partners (.5); Review and respond to emails    0.6   0.6
           re: DOJ call with Dallas County Administrator (.1)
 1/29/2014 Review and respond to emails re: scheduling conference call        0.1   0
           on deposition interests (.1)
 1/30/2014 Review and respond to emails re: scheduling conference call        0.6   0.5
           on deposition interests (.1); Meet with Brennan Center staff re:
           jurisprudential research (.5)
 1/31/2014 Review and respond to emails re: scheduling conference call        0.1   0.1
           on DOJ database matching (.1)
  2/3/2014 Review and respond to emails re: protective order (.2)             0.2   0
  2/4/2014 Review and respond to emails re: scheduling conference call        1.2   0.3
           on depositions (.2); Review and respond to emails re: data
           dictionaries for federal databases (.2); Review and respond to
           news reports related to case (.1); Confer w/ private plaintiffs
           re: 30(b)(6) notices (.5); Review and respond to emails re:
           30(b)(6) notices (.2)



                                                                                        6
Case 2:13-cv-00193 Document 1145-9 Filed on 04/11/19 in TXSD Page 7 of 33



 2/5/2014 Review and respond to emails re: 14th amendment argument            1.6   0.5
          (.3); Confer w/ co-counsel and private plaintiffs re: DOJ's
          proposed algorithms (.1); Review and respond to emails and
          memorandum re: legislative privilege issue (.2); Review and
          respond to draft 30(b)(6) notices for the Office of the Secretary
          of State and the Department of Public Safety (1)

 2/6/2014 Review and circulate revisions to 30(b)(6) notices (1); Review      1.3   0.3
          and respond to emails with Sidney Rosdeitcher re: statistical
          argument to prove disparity (.3).
 2/7/2014 Review and respond to emails re: Chatman (.2); Review and           1.2   1
          circulate notes re: 14th amendment claim legal research (1)
2/10/2014 Call with plaintiffs re: script for survey (.5); Review and         1.6   0.8
          respond to emails re: DOJ proposed order (.3); Review and
          respond to draft 30(b)(6) notices (.3); Review draft motion to
          modify (.5);
2/11/2014 Call with S. Rosdeitcher re: 14th amendment claim legal             1     1
          research (1)
2/12/2014 Review and respond to emails on upcoming steps re: status           1     0.5
          conference (.5); Review and respond to emails re: Harris
          County provisional voter surveys (.5)
2/13/2014 Review and respond to emails on re: Barreto draft survey (.8);      2.5   0
          Review and respond to emails re: protective order updates (.8);
          Review and respond to emails re: legislative privilege issues
          (.8); Review and respond to emails re: setting trial time (.1)
2/14/2014 Confer with co-counsel re: TX jurisprudential issues (.3)           0.3   0
2/17/2014 Review and respond to emails re: survey call (.5)                   0.5   0.5
2/18/2014 Review and respond to emails re: Barreto survey insrument           0.5   0.5
          draft (.5)
2/19/2014 Review Legislative Privilege Brief (.5); Review and respond to      1     0.5
          emails re: Legislative Privilege Brief (.3); Review and respond
          to emails re: expert witnesses (.2)
2/20/2014 Review Discovery issues (.5); Review next steps for discovery       0.7   0.7
          dispute (.2)
2/21/2014 Review research and respond to emails re: affected persons (1)      1     1
2/26/2014 Review research and respond to emails re: affected persons (1)      1     1
2/27/2014 Review and respond to emails re: 30(b)(6) witnesses (.5);           1.3   0.8
          Review and respond to emails on re: Barreto draft survey (.2);
          Review and respond to emails re: litigation schedule (.1);
          Confer with co-counsel re: Plaintiff meeting with discussion on
          DOJ (.5)
 3/3/2014 Confer w/ co-counsel re: TX Photo ID Survey Call (.5);              1     0.5
          Review and respond to emails re: draft survey and legislative
          privilege (.5);
                                                                                        7
Case 2:13-cv-00193 Document 1145-9 Filed on 04/11/19 in TXSD Page 8 of 33



 3/4/2014 Review and respond to emails re: fact witnesses and               1.1   1.1
          scheduling order (.6); Review witness executive summaries
          (.5)
 3/5/2014 Confer w private plaintiffs (.5) Motion Hearing re: 162 Motion    2.3   0
          to Compel (1.8)
 3/6/2014 Review and respond to emails re: legislative witnesses (.5)       0.5   0.5
 3/8/2014 Review and respond to emails re: scheduling order (.2)            0.2   0.2
3/10/2014 Review and respond to emails re: jurisprudential                  0.6   0.1
          memorandums (.1); Review draft supplemental brief on
          legislative privilege (.5)
3/11/2014 Review and respond to emails re: DOJ subpoenas (.5); Review       1.5   1.5
          and respond to emails with S. Rosdeitcher re: third party
          witnesses (1)
3/13/2014 Review and respond to emails re: affected individuals and         1.1   1.1
          outreach to counties (.1); Review private plaintiffs’ and
          intervenors’ joint supplemental brief on privilege (1);
3/14/2014 Review research on ethical and practical issues regarding         0.5   0.5
          representing a fact witness (.5).
3/17/2014 Confer re Affected Persons (.5); Review and respond to emails     1     0.5
          re: coordinating objections (.5);
3/19/2019 Review and respond to emails re: Draft 30(b)(6) notice of Dep't 0.2     0.2
          of State Health Services (.2)
3/22/2014 Review and respond to emails re: voter fraud allegations in       1.2   1.2
          Texas (.5); Review and respond to emails re: statutory research
          memorandum on anderson-burdick claim (.5); Call on DOJ’s
          proposed allocation of leads on the 30(b)(6) depos (.2)
3/25/2014 Review and respond to emails re: Section 2 Jurisprudential        0.5   0.5
          memorandum (.5)
3/26/2014 Confer on Motion to Compel (.5)                                   0.5   0
 4/1/2014 Confer re: Affected Individuals Discussion (.5)                   0.5   0.5
 4/2/2014 Confer w/ co-counsel; Dan Chatman (.5); Review and respond        1.3   0.8
          to emails re: proposed withdrawal of one 30(b)(6) topic for
          DPS/SOS (.3); Review and respond to emails re: affected
          persons (.5)
 4/3/2014 Review and respond to emails re: agenda for call on trial         1.7   1.2
          protocol (.2); Confer w/ co-counsel re: Fact Discovery, Trial
          Protocol, and 30(b)(6) depositions (.5); Review and respond to
          emails to S. Rosdeitcher re: Crawford memo (1)
 4/7/2014 Confer w co counsel re: status (1); Review and respond to         2     1
          emails re: Wisconsin post-trial brief (1)




                                                                                      8
Case 2:13-cv-00193 Document 1145-9 Filed on 04/11/19 in TXSD Page 9 of 33



 4/8/2014 Review and respond to emails re: 30(b)(6) depositions (.8);       2.1   1
          Review and respond to emails re: Crawford memorandum (1)
          Status conference re: attorney/client priviledges (.3) (phone
          participation)
4/10/2014 Confer with co-counsel with co-counsel re: strategy (1)           1     0
4/14/2014 Review and respond to emails with S. Rosdeitcher re: Section      2     2
          2 memorandum (1); Review and respond to emails re:
          Deposition prep (1)
4/15/2014 Review and respond to emails with V. Agraharkar and J. Clark      2.5   2.5
          re: Deposition prep (.5); Review and respond to emails re:
          Texas voter id survey (1.5); Review and respond to emails re:
          Public records request (.5)
4/16/2014 Review and respond to emails with V. Agraharkar and J. Clark 1.3        1
          re: Hearing on Texas' motion to compel (.5); Review and
          respond to emails re: TX public education experts (.5) Motion
          hearing re: amended motion to compel the production of
          documents (.3) (phone)
4/17/2014 Review memo and respond to emails with V. Agraharkar and J. 1.5         1.5
          Clark re: Deposition prep (1.5)
4/18/2014 Review and respond to emails with E. Rosenberg re:                0.5   0
          Deposition prep (.5)
4/21/2014 Review and respond to emails with plaintiffs re: Deposition       2     2
          defense prep (1); Review deposition memo and respond to
          emails with V. Agraharkar re: Deposition defense outline (1);
4/22/2014 Review and respond to emails with plaintiffs re: Responses to     0.6   0.6
          RFPs (.6);
4/23/2014 Participate in portion of Ingram deposition conference (.5);      1     0.5
          Post-deposition meeting with V. Agraharkar (.5)
4/24/2014 Review and respond to emails re: United States' Proposed          2.8   0
          Request for Judicial Notice (.5); Review and respond to emails
          with plaintiffs re: Upcoming deposition prep (1); Post-
          deposition Confer with co-counsel & private plaintiffs (1);
          Review and respond to emails re: document review and
          provision ballot research (.3)
4/25/2014 Review deposition memo and respond to emails with V.              3     3
          Agraharkar and J. Clark re: Deposition prep outline (1); Confer
          w co-counsel re: next steps (1); Review and respond to emails
          with V. Agraharkar re: Texas survey (1);
4/27/2014 Review deposition memo and respond to emails re: Peters           1     1
          deposition outline (1);
4/28/2014 Review and edit Motion to Quash the Third –Party subpoenas        1     0
          (1)


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Case 2:13-cv-00193 Document 1145-9 Filed on 04/11/19 in TXSD Page 10 of 33



4/29/2014 Review deposition memo and respond to emails w J. Clark re:        1     1
          deposition outline (1);
4/30/2014 Review and respond to emails with co counsel re: Rodriguez         4.3   1.3
          deposition (.3); Review and respond to emails with Clark and
          Agraharkar re: Depositon outlines (1); Peters' deposition and
          planning emails (3)
 5/1/2014 Confer with co-counsel post-deposition (.6); Review and            2     0.7
          respond to emails with plaintiffs re: Deposition strategy (.2);
          Review and respond to emails re: affected people research (.5);
          Motion hearing (phone) (.7)
 5/2/2014   Review and respond to emails re: DOJ depositions (.8);           0.8   0
 5/5/2014   Review and respond to emails re: Discovery responses (.3);       0.3   0
 5/6/2014   Review and respond to emails re: Cessinger depo prep (1);        1     0
 5/7/2014   Review and respond to emails re: Discovery strategy (.3);        0.3   0
 5/8/2014   Review and respond to emails re: Affected persons (.3);          1.1   1.1
            Review and respond to emails re: discovery responses (.8);
 5/9/2014 Review and respond to emails re: expert witness selection (.5);    1.1   0.5
          Confer with co-counsel with Dan Chatman re: research (.6);
5/10/2014 Review Chatman report and respond to emails re: same (2)           2     0
5/12/2014 Review, edit, and respond to emails re: Judicial notice            3.3   0
          opposition (1); Confer with co-counsel re: Common interest
          privilege (.5); Review and respond to emails re: Cesinger
          deposition (.5); Confer with co-counsel and potential expert
          (.5); Review and respond to emails re: expert analysis (.3);
          Confer with co-counsel; Dan Chatman(.5)
5/13/2014 Review and respond to emails re: Veasey survey data and            0.8   0.8
          affected persons research (.8);
5/16/2014 Review and respond to emails re: NAACP matching research           0.6   0.6
          (.5); Review and respond to emails re: witnesses (.1);
5/19/2014 Review and respond to emails re: Cesinger depo prep (1); Pre-      1.8   1.8
          call on Texas letter (.8)
5/20/2014 Attend Cesinger deposition (3.2) (1:56 - 5:18) (telephonically);   4.3   4.3
          Review and respond to emails re: doc review (.1); Call with
          Texas on discovery responses (1)
5/21/2014 Post-deposition meeting with Clark and Agraharkar (.5);            1.2   1
          Review and respond to emails re: common interest conference
          call (.2); Review and respond to emails re: NAACP RFPs (.5);
5/22/2014 Review and respond to emails re: expert witness research (.5);     1.1   1.1
          Call with potential expert (.1); Review and respond to emails
          re: provisional ballot research (.5);
5/23/2014 Review and respond to emails re: search for affected persons       0.5   0.5
          (.5);
                                                                                       10
Case 2:13-cv-00193 Document 1145-9 Filed on 04/11/19 in TXSD Page 11 of 33



5/27/2014 Review expert witness draft report and provide feedback (2)        2     2
5/28/2014 Review and respond to emails re: search for affected persons       1.4   0.5
          (.5); Confer w/ co-counsel Trial Protocol (.5) Miscellaneous
          hearing (telephonic) (.4)
5/29/2014 Review Draft Proposed Order and provide feedback (1);              2     1.5
          Review and respond to emails re: search for affected persons
          (.5); Review and respond to emails re: subpoenas (.5);
5/30/2014 Review and respond to emails re: affected persons (.5);            0.5   0.5
 6/1/2014 Review common interest doctrine joint statement and provide        2     0
          feedback (2)
 6/2/2014 Review and respond to emails re common interest doctrine           1     0.5
          joint statement (.5); Review and respond to emails re: affected
          persons (.5);
 6/3/2014 Confer with co-counsel re upcoming strategy (1); Review and        1.5   0.5
          respond to emails re: expert interview of affected persons (.5);
 6/4/2014 Review and respond to emails re: Yannis deposition (.5);           1     0
          Review and respond to emails re: hiring expert witness Lori
          Minnite (.5);
 6/5/2014 Review and respond to emails re: Voter education documents         1.5   1.5
          (.5); Call with L. Minnite (1)
 6/6/2014 Status conference re: 240 Mtn to Compel (1) (telephonic)           1     0
 6/9/2014 Review and respond to emails re: discovery materials from L.       1     0
          Minnite (.5); Review and respond to emails re: MALC
          document response (.5)
6/10/2014 Review and respond to emails re: Plaintiff experts (.3); Review    0.8   0.8
          and respond to emails re: affected persons declarations (.5)
6/11/2014 Call with expert witness D. Chatman (.5); Review and respond       2     0
          to emails re: Chatman report and survey report (1.5)
6/12/2014 Confer with co-counsel re expert witness strategy (1); Review      2.8   0.8
          and respond to emails re: affected persons (.8);TX Case: Status
          Conference (1)
6/13/2014 Review and respond to emails re: affected persons (.5); Review 1.5       0.5
          Barreto report (1)
6/14/2014 Review Draft response on TX Motion re federal databases (1)        1     0
6/16/2014 Respond to emails re Expert draft report (.3); Review and          0.8   0.8
          respond to emails re: L. Minnite research (.3); Review and
          respond to emails re: Barretto call (.2)
6/18/2014 Review and respond to emails re OAG subpoena/deposition            0.5   0
          (.5)
6/19/2014 Review and respond to emails re Minnite research (.5)              0.5   0.5
6/21/2014 Review Chatman report and respond to emails re: same (2);          2     0

                                                                                       11
Case 2:13-cv-00193 Document 1145-9 Filed on 04/11/19 in TXSD Page 12 of 33



6/23/2014 Review and respond to emails re Minnite expert report (.5);        1     0.5
          Review and respond to emails re affected persons depositions
          (.5)
6/24/2014 Review expert reports and provide feedback (1); Review and         3.8   1.8
          respond to emails re testimony strategy (1); Confer with co-
          counsel re expert witness report (1); Review and respond to
          emails re MALC 30(b)(6) deposition (.3); Review and respond
          to emails re affected person (.5)
6/25/2014 Review and respond to emails re Minnite expert report (3)          3     2
6/26/2014 Review and respond to emails re Minnite expert report (3)          3     2
6/27/2014 Review and respond to emails re Veasey disclosures (.6);           1.6   1.6
          Review and respond to emails re Minnite expert report (1)
6/30/2014 Review and respond to emails re Minnite expert report (1);         2     2
          Review and respond to emails re upcoming depositions (1)
 7/1/2014 Confer re expert report (1)                                        1     0
 7/2/2014 Confer re Ingram's testimony (2); Call with Minnite (1)            3     1
 7/3/2014 Review and respond to emails re Strategy for upcoming              1     1
          motions (.5); Review and respond to emails re affected persons
          research (.5)
 7/8/2014 Review and respond to emails re Minnite research (.5), Confer      0.7   0.5
          with co counsel re status Conference (.2)
 7/9/2014 Review and respond to emails re Findings of Fact and               1     0
          Conclusions of Law (1)
7/10/2014 Confer re: findings of facts and conclusions of law (1)            1     1
7/11/2014 Review and respond to emails re witness prep strategy (1)          1     0
7/14/2014 Review and respond to emails re witness prep strategy outline      3.3   2.3
          (2); Review and respond to emails re: deposition strategy (1);
          Review and respond to emails re: FOFs (.3)
7/15/2014 Review and respond to emails re: FOFs (.6); Review and             2.1   1.6
          respond to emails re: affected persons (.2); Confer re Texas
          Motion for time extension (.5); Confer with G. Bledsoe (.8)
7/16/2014 Confer with co counsel re Texas motion (.5)                        0.5   0
7/17/2014 Review and respond to emails re: research on absentee fraud in     0.8   0.3
          TX (.3); Confer with co counsel re: Texas motion (.5)
7/18/2014 Review and respond to emails re Minnite FOF research (1.5);        3     3
          Review and respond to V. Agraharkar re: FOF results section
          (1.5)
7/19/2014 Review and respond to emails re: Cesinger FOFs (.3)                0.3   0.1
7/21/2014 Review and respond to emails re: FOFs results section (1)          1     1
7/22/2014 Review and respond to emails re: affected persons depositions      1.6   1
          (.3); Review and respond to : draft deposition prep outline (1);
          Review and respond to emails re: trial prep (.3)

                                                                                       12
Case 2:13-cv-00193 Document 1145-9 Filed on 04/11/19 in TXSD Page 13 of 33



7/23/2014 Confer re trial prep (1); Review and respond to emails re:        1.3   0
          discovery (.3)
7/24/2014 Status conference (.5); Review and respond to emails re:          1.3   0.3
          witness acquisition (.3); Confer with co-counsel re: hearing (.5)
7/25/2014 Review and respond to emails re: affected persons research (.3)   0.3   0
7/28/2014 Review and respond to emails re: TX renewed motion on fraud       0.3   0.3
          (.3)
7/29/2014 Review and respond to emails re: Mitchell depo (.3)               0.3   0.3
7/30/2014 Review and respond to emails re: deposition strategy outline      1.2   0.6
          by V. Agraharkar (.3); Review and respond to emails re: FOFs
          (.3); Confer with co counsel re status conference (.6)
7/31/2014 Review and respond to emails re: affected persons dep (.3)        0.3   0.3
 8/2/2014 Review TX's expert reports (2)                                    2     2
 8/4/2014 Finalize and circulate section 2 jurisprudntial memos (2);        3     3
          Review and respond to emails re: expert witness depositions
          strategy memos (1)
 8/5/2014 Review and respond to emails re: trial prep documents (.3);       1.3   0.3
          Confer with Private plaintiffs on next step (1)
 8/6/2014 Review and respond to emails re: DOJ data request (.3);       3.6       2.6
          Confer with co-counsel with potential witness Dawn White (1);
          Review and respond to emails re: FOFs (.3); Call with private
          plaintiffs re: FOFs (.5); Texas hearing regarding omission of
          records (.5); Confer with L. Minnite re Texas's view of voter
          fraud (1)
 8/7/2014 Review and respond to emails with V. Agraharkar and E.        1         1
          Rosenberg re: expert depositions (1)
 8/8/2014 Review and respond to emails re: Minnite research (.7)            0.7   0.7
8/11/2014 Review and respond to emails re: affected persons strategy        1.2   1
          (.6); Review and respond to emails re: drafting FOFs (.3);
          Review and respond to emails re: Forrest Mitchell deposition
          (.3)
8/12/2014 Prepare, confer, and participate in Forrest Mitchell deposition   6.7   2.5
          (4.8) (telephonic; Review and respond to emails re: Draft C. of
          Law (1); Review and respond to emails re: Expert depositions
          (.3); Review and respond to emails re: Scheduling Minnite
          travel (.3); Review and respond to emails re: co-counsel
          engagement agreements (.3)
8/13/2014 Review and respond to emails re: COL draft (.3); Confer with      1.3   0.3
          co-counsel re: next steps (1)
8/14/2014 Review and respond to emails re: DOJ's FOF DPS (.5);            2       0
          Conference with Court (.5); Confer w/ colleagues re: next steps
          (1)



                                                                                      13
Case 2:13-cv-00193 Document 1145-9 Filed on 04/11/19 in TXSD Page 14 of 33



8/15/2014 Review evidence section of draft FOF by V. Agraharkar (1);        3.1   2
          Review and respond to emails re: FOFs draft (1.1); Confer
          with colleagues re: next steps (1);
8/16/2014 Review and confer on FOFs draft (2)                               2     0
8/17/2014 Review and respond to emails re: FOFs draft (.9); Review and      2     1.1
          respond to emails re: DPS stats/research (1.1)
8/18/2014 Review drafts and respond to emails re: FOFs drafts (1.3);      1.9     0.6
          Review and respond to emails re: affected persons research (.6)
8/19/2014 Review FOFs draft and provide edits (1.8); Review Joint           2.5   0
          Pretrial Order (.7)
8/20/2014 Review and respond to emails re: FOFs draft (1); Review and       1.5   1.5
          respond to emails re: affected persons search (.5)
8/21/2014 Review and respond to emails re: witness designations (.7);    2.9      2.6
          Review and respond to emails re: pretrial conference and
          deposition strategy (.4); Review and respond to emails re:
          Lichtman deposition (.5); Review and respond to emails re: TX
          NAACP and MALC expert designations (1); Participate in
          hearing re: Opposed MOTION to Compel the Production of
          Documents (.3) (telephonically)
8/22/2014 Review and respond to emails re: witness list (.1); Review and 5.8      5.8
          respond to emails re: DOJ 30(b)(6) deposition witnesses (.5);
          Review, revise, and respond to emails re: FOFs draft (1.2)
          Telephonic Depo Prep with Lori Minnite (4)
8/24/2014 Review and respond to emails re: scheduling deposition of L.      1     1
          Minnite (1);
8/25/2014 Review and respond to emails re: witness list (.3); Review and    1.3   1.3
          respond to emails re: Minnite deposition (1)
8/26/2014 Review and respond to emails re: Defendants' exhibits (1)       1       1
8/27/2014 Review and respond to emails re: Deposition designation and     5       3.5
          exhibit objections (1); Defend L Minnite Deposition (2.5) Final
          pretrial conference (1.5)(telephonic)
8/28/2014 Review and respond to emails re: Recording of Minnite             2.3   2.2
          deposition (.5); Review and respond to emails re: questioning
          strategy (.6); Status conference re: defendants use of various'
          members documents at trial (.8); Motion hearing (.4)
 9/2/2014 Review and respond to emails re: Trial (1); Review and            3.5   2.5
          respond to emails re: Trial presentation exhibits (1); Watch live
          video of Bates testimony (1); Review and respond to emails re:
          L. Minnite trial preparation session (.5);




                                                                                      14
Case 2:13-cv-00193 Document 1145-9 Filed on 04/11/19 in TXSD Page 15 of 33



 9/3/2014 Confer with co-counsel with DOJ re: Witnesses, readings,           3      3
          timings, etc (1); Review and respond to emails re: Bates
          interview recap (.5); Review and respond to emails re: Minnite
          expert report (.5); Review Minnite deposition transcript (1);
 9/4/2014 Review Bench transcript of 09/02/2014 hearing (1); Review          1.5    0.5
          and respond to emails re: Cesinger deposition (.5);
 9/5/2014 L. Minnite trial preparation session (1.5); Review Trial Day 3     3.3    2.3
          transcript (1); Review and respond to emails re: Minnite expert
          report (.3); Review and respond to emails re: Strategy for trial
          (.5);
 9/6/2014 Review and respond to emails re: defendants' witness list (.2);    0.9    0.9
          Review and respond to emails re: Strategy for direct
          examination (.2); Review and respond to emails re: Upcoming
          deposition (.5);
 9/7/2014 Travel to Texas for trial (5.3); Review and respond to emails      5.8    0.5
          re: Upcoming deposition (.5);
 9/8/2014 Review and respond to emails re: DOJ Objection letters (.2);       10.1   1.2
          Review and respond to emails re: Trial strategy and setup (1);
          Attend Bench Trial (8.9)
 9/9/2014 Bench Trial (9.3), Review and respond to emails re: Cesinger       13.3   4
          trial reading designations (.5); Review and respond to emails
          re: trial exhibits (.5); Review and respond to emails re: trial
          strategy and recap (3);
9/10/2014 Attend Bench Trial (4); Review Ingram deposition (.5);     10             1
          Review and respond to emails re: SOS legal research (.5);
          travel home (5)
9/11/2014 Review and respond to emails re: NOTICE Corrected Advisory 2              0.5
          Concerning DPS Web Site (.5); Review and respond to emails
          re: post-trial meeting (1.5);
9/13/2014 Review FOF brief (1.5);                                            1.5    0
9/14/2014 Review and respond to emails re: FOF brief updates (.5);           0.5    0.5
9/15/2014 Review and respond to emails re: FOF brief updates (1.5);          3      3
          Review and respond to emails re: FOF Minnite findings (.5);
          Review and respond to emails re: Revised COL (1);
9/16/2014 Review and provide edits re Revised COL (1.5);                     1.5    1.5
9/17/2014 Review and respond to emails re Veasey revised remedy              3      3
          document (1.5); Confer with co-counsel for co counsel (1);
          Review and respond to emails re: Trial strategy (.5);
9/18/2014 Review, revise, and respond to emails re: FOF/COL updates        1.5      1.5
          (.5); Review and respond to emails re: legal research by V.
          Agraharkar (.5); Review and respond to emails re: trial strategy
          (.5);

                                                                                        15
Case 2:13-cv-00193 Document 1145-9 Filed on 04/11/19 in TXSD Page 16 of 33



 9/21/2014 Review and respond to emails re: Closing outline (1.5);             2     2
           Review and respond to emails re: strategy on Stay brief (.5);
 9/22/2014 Confer with BC Texas team (1); Review and Revise Trial              2     2
           Transcripts Brief (1)
 9/26/2014 Review and respond to emails re: communications stratgy (.2);       0.2   0.2
 10/2/2014 Review and respond to emails re: communications strategy            0.2   0.2
           (.2);
 10/3/2014 Review and respond to emails re: Strategy for November 2014         0.4   0.2
           elections (.2); Review and respond re: DOJ brief (.2)
 10/6/2014 Review and respond to emails re: Draft remedial order (.5);         0.5   0.5
 10/9/2014 Review and respond to emails re: Opinion and relief (1.5);          1.5   1.5
10/10/2014 Review and respond to emails re: post-opinion briefings (1);        2.4   1.9
           Review and respond to emails re: Opposing counsel
           correspondence on Advisory filing (.5); Review and respond to
           emails re: witnesses (.5); Review and respond to emails re:
           COL (.2); Review and respond to emails re: Court's
           judgement/injunction (.2);
10/11/2014 Review and respond to emails re: Strategy over upcoming Stay        1     1
           briefings (.5); Review and Revise State of Texas’ Advisory (.5)
10/12/2014 Confer with co-counsel with co counsel re: upcoming brief           5.5   3.5
           strategy (1); Review and edit Stay briefing (3); Review and
           respond to emails re: declarations (.5); Confer with co-counsel
           with co counsel re: upcoming brief strategy (1);
10/13/2014 Review and respond to emails re: filing strategy (.2); Review       4.7   4.7
           and respond to emails re: co counsel's Emergency Application
           to Vacate Stay draft (2.5); Review and respond to emails re:
           communications strategy (.5); Confer with co-counsel with W.
           Weiser and E. Rosenberg re: brief strategy (1.5)

10/14/2014 Review and respond to emails re: Texas' actions post-opinion        4.5   3
           (.5); Review and respond to emails re: co counsel's Emergency
           Application to Vacate Stay draft (1); Review and respond to
           emails re: 5th Circuit ruling (1); Confer with co-counsel re: 5th
           Circuit ruling (1.5); Review and respond to emails re: briefing
           strategy (.5);
10/15/2014 Draft section, revise, and respond to emails re Emergency           4.2   4.2
           Application to Vacate Stay draft (4); Review and respond to
           emails re: timing /logistics strategy for brief (.2);
10/16/2014 Review and respond to emails re: TX respond to emergency            1.5   1.5
           stay (1.5);
10/18/2014 Review and respond to emails re: Supreme Court decision on          2     2
           stay (1.5); Review and respond to emails re: investigators (.5);



                                                                                         16
Case 2:13-cv-00193 Document 1145-9 Filed on 04/11/19 in TXSD Page 17 of 33



10/20/2014 Review and respond to emails re: Upcoming elections strategy      1.6   1.6
           (.5); Review and respond to emails re: fee applciations (.1);
           Confer with co-counsel with co counsel re: upcoming strategy
           (1)
10/21/2014 Review and respond to emails re: Strategy post-stay decision      1     1
           (.5); Review and respond to emails re: investigators reviewing
           early voting experiences (.5);
10/22/2014 Review and respond to emails re: voting problems on the          2      2
           ground (.5); Review and respond to emails re: voting problems
           on the ground (.5); Confer with co-counsel re: voter surveys
           (1)
10/23/2014 Confer with co-counsel with co counsel re: section 3 issues (1); 2.5    0.5
           Confer with co-counsel with DOJ (1); Review and respond to
           emails re: investigators on the ground (.5);
10/24/2014 Review and respond to emails re: Texas polling survey (1.5);      1.5   1.5
10/26/2014 Review and respond to emails re: Section 3 strategy (.5);         0.5   0.5
10/27/2014 Conference call with co counsel re Judgement (1)                  1     1
10/28/2014 Review and respond to emails re: Section 3 relief draft order     0.5   0.5
           (.5);
10/29/2014 Review and respond to emails re: investigators (.5);              0.5   0.5
10/31/2014 Review and respond to emails re: proposed order (.2); Review      0.7   0.7
           and respond to emails re: election strategy (.5);
 11/3/2014 Review and respond to emails re: communications strategy          0.5   0.5
           (.5);
 11/6/2014 Review and respond to emails re: election-related issues (.3);    0.3   0.3
 11/7/2014 Review and respond to emails re: transfer of exhibits (.5);       0.5   0.5
11/12/2014 Review and respond to emails re: 5th Circuit merits brief (.5);   0.5   0
11/17/2014 Review and respond to emails re: strategy for brief drafting      0.2   0.2
           (.2);
11/20/2014 Review and edit 5th circuit merits brief (3)                      3     0
11/21/2014 Review and respond to emails re: motion to expedite (1);          1.5   1.5
           Review and respond to emails re: merits brief (.5);
 12/1/2014 Review and respond to emails re: motion to expedite draft (.2);   0.2   0.2
 12/3/2014 Review and respond to emails re: common interest privilege        0.7   0.7
           (.5); Review and respond to emails re: draft response to motion
           to expedite (.2);
12/10/2014 Review and respond to emails with D. Ho re: legal strategy        1.6   1.1
           (.5); Review and respond to emails re: division of brief (.5);
           Review and respond to emails re: briefing notice (.1); Confer
           with co-counsel regarding brief preparation (.5)
12/15/2014 Review and respond to emails re: amicus strategy (.5);            0.5   0


                                                                                       17
Case 2:13-cv-00193 Document 1145-9 Filed on 04/11/19 in TXSD Page 18 of 33



12/16/2014 Review and respond to emails re: appellate brief strategy (.5);       1.2   0
           Confer with co-counsel with DOJ (.7)
12/18/2014   Review and respond to emails re: district court record (.1);        0.1   0
  1/5/2015   Review and respond to emails re: appellate brief strategy (.2);     0.2   0.2
  1/6/2015   Review and respond to emails re: appellate brief strategy (.2);     0.2   0.2
  1/9/2015   Review and respond to emails re: Motion to extend time (.2);        0.2   0
 1/12/2015   Review and respond to emails re: appellate brief schedule (.2);     0.2   0.2
 1/13/2015   Review and respond to emails re: appellate brief schedule (.1);     0.1   0
 1/16/2015   Review, edit, and respond to emails re Brennan Center's             1     1
             sections of Brief (1);
 1/20/2015 Review and respond to emails re: Draft appellate brief (.2);          0.2   0
 1/21/2015 Meet with BC team (Weiser, Clark, and Agaraharkar) re BC              1     1
           portion of appellate brief (1)
 1/26/2015 Review and respond to emails re: Amicus strategy (.2);                0.2   0.2
 1/27/2015 Review and respond to emails re: TX Motion to seal brief (.1);        0.6   0.5
           Review and revise defendants-appellants' opening brief on
           Appeal before the Fifth Circuit Stay Brief (.5)
 1/28/2015   Review and respond to emails re: Texas opening brief (.5);          0.5   0.5
 1/29/2015   Review and respond to emails re: Draft appellate brief (.2);        0.2   0
 1/30/2015   Confer with co-counsel re Upcoming appellate brief (1)              1     0
  2/2/2015   Review and respond to emails re: Legislative strategy (.2);         0.2   0.2
  2/4/2015   Review and respond to emails re: Amicus strategy (.2);              0.2   0.2
  2/5/2015   Review Draft appellate brief (1);                                   1     0
  2/6/2015   Confer with co-counsel with co counsel re: Amicus strategy          2.2   2.2
             (1); Review and respond to emails re: Draft appellate brief (.2);
             Confer with Private plaintiffs (1)
  2/7/2015 Review Draft appellate brief (1);                                     1     0
 2/10/2015 Confer with Lawyers' Committee re Amicus Brief (1)                    1     1
 2/11/2015 Review and respond to emails re: Draft appellate brief (1.2);         1.2   1.2
 2/12/2015 Review and respond to emails re: Draft appellate brief                2.2   2.2
           comments (1.2); Confer with co-counsel re appellate brief draft
           (1)
 2/13/2015 Review and respond to emails re draft appellate brief (.5);           1.5   1.5
           Meet with Brennan Center Texas team re brief (1)
 2/14/2015 Review and respond to emails re draft appellate brief                 1.5   1.5
           comments/edits from Lawyers' Comm. (1.5)
 2/15/2015 Review and respond to emails re draft appellate brief                 0.5   0.5
           comments/edits from Lawyers' Comm. (.5)
 2/16/2015 Review and respond to emails re draft appellate brief                 0.5   0.5
           comments/edits from Lawyers' Comm. (.5)


                                                                                           18
Case 2:13-cv-00193 Document 1145-9 Filed on 04/11/19 in TXSD Page 19 of 33



2/17/2015 Confer with co-counsel with co counsel re Upcoming appellate      1.5   0.5
          brief (1); Review and respond to emails re brief strategy (.5)
2/18/2015 Review, edit, and respond to emails re appellate brief (1.5)      1.5   1.5
2/19/2015 Review and respond to emails re TX proposed motion (.1);          2.3   1.1
          Review updated appellate brief and comments (1.2); Meet with
          Brennan Center Texas team re brief (1)
2/20/2015   Review and respond to emails re appellate brief drafting (2)    2     2
2/21/2015   Review and respond to emails re appellate brief drafting (1)    1     1
2/22/2015   Review and respond to emails re appellate brief drafting (1)    1     1
2/23/2015   Review and respond to emails re appellate brief drafting        3     2
            (1);Confer with Private plaintiffs (1); Review TX brief (1)
2/24/2015 Confer with co-counsel with co counsel re appellate brief (1);    2.5   1.5
          Review and respond to emails re brief strategy (1.5)
2/25/2015 Review and respond to emails re appellate brief opening (1);      2     2
          Review and respond to emails re appellate brief order of
          argument (1)
2/26/2015 Review and respond to emails re appellate brief drafting (1)      1     0
2/27/2015 Review and respond to emails re appellate brief intro drafting    1     1
          (1)
 3/1/2015 Review and respond to emails re appellate brief drafting (.1)     0.1   0.1
 3/2/2015 Review and respond to emails re appellate brief edits (2)         2     0
 3/3/2015 Review and respond to emails re appellate brief filing (1);       2     2
          Review and respond to emails re section 2 research by J. Clark
          (.5); Review and respond to emails re affected person (.5);
 3/4/2015 Review and respond to emails re moot materials (.5); Review       1.5   1
          and respond to emails re filed appellate brief (.5); Review and
          respond to emails re opposing counsel's motion to extend brief
          filing date (.5)
3/18/2015 Review and respond to emails re oral argument strategy (.5)       0.5   0.5
3/19/2015 Confer with co-counsel with co counsel re Oral argument (1)       1     0
3/20/2015 Confer with co-counsel with co counsel re Oral argument (1);      1.5   0.5
          Review and respond to emails re oral argument strategy (.5)
3/23/2015 Confer with co-counsel with co counsel re Oral argument (1);      1.7   1.7
          Review and respond to emails re oral argument strategy (.5);
          Review and respond to emails re TX motion for extra length
          brief (.2)
3/24/2015 Confer with co-counsel with co counsel re oral argument (1);      1.5   0
          Review and respond to emails re oral argument strategy (.5)
3/25/2015   Review and respond to emails re oral argument strategy (.5)     0.5   0.5
3/27/2015   Review and respond to emails re oral argument strategy (.5)     0.5   0.5
3/30/2015   Review and respond to emails re oral argument strategy (.5)     0.5   0.2
3/31/2015   Review and respond to emails re oral argument strategy (.5)     0.5   0

                                                                                      19
Case 2:13-cv-00193 Document 1145-9 Filed on 04/11/19 in TXSD Page 20 of 33



 4/2/2015 Review and respond to emails re Appellants reply brief out of       0.5   0.3
          time (.5)
 4/3/2015 Confer with co-counsel with co counsel re Oral argument (1);        4     1
          Review and respond to emails re oral argument strategy (2);
          Meet with Brennan Center Texas team re brief (1)
 4/6/2015 Conference cal with co counsel re Veasey motion (1); Review         2.5   1
          and respond to emails re oral argument strategy (.5); Confer
          with co-counsel with co counsel re Oral argument (1)
 4/7/2015   Confer with co-counsel regarding oral argument (1.1)              1.1   0
 4/8/2015   Review and respond to emails re oral argument prep (.5)           0.5   0.3
 4/9/2015   Review and respond to emails re oral argument prep (.5)           0.5   0.5
4/13/2015   Review and respond to emails re oral argument prep (1.5)          1.5   0
4/14/2015   Review and respond to emails re oral argument prep (1)            1     1
4/15/2015   Confer with co-counsel with co counsel re trial prep (1);         2.5   1
            Review and respond to emails re oral argument prep (.5); Draft
            brief (1)
4/16/2015   Review and respond to emails re oral argument prep (1)            1     1
4/17/2015   Review and respond to emails re oral argument prep (1)            1     1
4/20/2015   Review and respond to emails re oral argument prep (1)            1     1
4/22/2015   Moot with co counsel in DC re trial prep (includes travel time)   13    0
            (10); Review and respond to emails re oral argument prep (2);
            Confer with Private plaintiffs (1)
4/23/2015 Review and respond to emails re oral argument prep (1)              1     1
4/24/2015 Moot in NYC LDF office (3); Review and respond to emails re         4     1
          oral argument prep (1)
4/25/2015 Review and respond to emails re oral argument opening and           2     2
          closing (2)
4/27/2015 Review and respond to emails re oral argument prep (3);             8     3
          Travel to argument (5);
4/28/2015 Oral argument (.4); return travel (4.5)                             4.9   4.9
 5/1/2015 Confer w/ co-counsel (.5)                                           0.5   0.5
5/19/2015 Review and respond to emails re voter fraud allegations in TX       0.2   0.2
          (.2)
5/27/2015 Review and respond to emails re section Rule28(j) Material          0.5   0.5
          filed (.5);
5/28/2015 Confer with co-counsel with co counsel re Rule28(j) material        2.5   1
          filed (1.5); Review and respond to emails re Texas
          supplemental filing (.5); Review and respond to emails re US
          response to Texas' May 27 letter (.5);
 6/1/2015 Review and respond to emails re section Rule28(j) response          0.5   0
          (.5);


                                                                                        20
Case 2:13-cv-00193 Document 1145-9 Filed on 04/11/19 in TXSD Page 21 of 33



 6/9/2015 Review and respond to emails re Texas voter id legislation       0.5   0.5
          research (.5);
6/22/2015 Review and respond to emails re Texas voter id legislation       0.5   0.5
          research/28j Letter (.5);
6/23/2015 Review and respond to emails re Texas voter id legislation       0.2   0.2
          research/28j Letter (.2);
6/24/2015 Review and respond to emails re Texas voter id legislation       0.2   0.2
          research/28j Letter (.2);
6/25/2015 Review and respond to emails re Texas voter id legislation       0.2   0.2
          research/28j Letter (.2);
 7/2/2015 Review and respond to emails re Texas voter id legislation       0.5   0.5
          research/28j Letter (.5);
 8/5/2015 Review 5th circuit opinion (1.5); Review and respond to emails 3       0
          re opinion (1.5)
 8/6/2015 Review and respond to emails re Opinion (.5)                     0.5   0.5
8/11/2015 Review and respond to emails re strategy post-opinion (.5); call 1.2   0
          with co-counsel regarding interim relief (.7)
8/17/2015 Review and respond to emails re Draft motion for a limited       2.6   0
          remand (.5); Confer with co-counsel re Motion for Limited
          Remand (2.1)
8/18/2015 Review and respond to emails re interim relief strategy (.5);    1.5   0
          Confer with Plaintiffs and DOJ re next steps (1)
8/19/2015 Review and respond to emails re interim relief strategy (.5);    0.5   0
8/20/2015 Review and respond to emails re interim relief strategy (1);     3     1
          Confer with co-counsel with co counsel re interim relief (1);
          Review and revise Motion for Limited Remand Brief (1)
8/21/2015 Review and respond to emails re interim relief strategy (.5);    0.5   0
8/22/2015 Review and respond to emails re interim relief strategy (.1);    0.1   0.1
8/24/2015 Confer with co-counsel with E. Rosenberg re interim relief       3.1   1
          strategy (1); Review and respond to emails re interim relief
          strategy (1.5); Confer with co-counsel with C. Dunn re inteim
          relief strategy (.6)
8/25/2015 Review and respond to emails re DOJ position on                  0.2   0
          confidentiality (.2)
8/26/2015 Confer with co-counsel with co counsel re Interim relief         6.3   0.8
          strategy (1.5); Review and respond to emails re schedule for
          election material printing (.5); Review and respond to emails
          re: draft motion for limited remand (.3); Travel to Austin,
          Texas for meeting with all counsel re: remedies (4);

8/27/2015 Meet and confer in Texas (1); confer w/ co counsel and           4     0
          plaintiffs re: intermediate relief strategy (3);


                                                                                     21
Case 2:13-cv-00193 Document 1145-9 Filed on 04/11/19 in TXSD Page 22 of 33



 8/28/2015 Review and Revise Appellants' Petition for Rehearing En Banc      1           1
           Brief (1)
 8/31/2015 Confer with co-counsel with co counsel/opposing counsel re        4.5         0.5
           interim relief strategy (1.5); Review and respond to emails re
           Texas's petition for rehearing en banc, motion to stay, and
           opposition to motions for remand (1.5); Confer with co-
           counsel with co counsel re strategy for upcoming briefs (1);
           Review and respond to emails re doctrinal issues to be
           discussed (.5)
  9/1/2015 Call with E. Rosenberg, G. Bledsoe, and otheres re:               2.8         0
           preparation for meet and confer regarding remedies (1.3);
           Confer with co-counsel with co counsel re doctrinal issues (1);
           Review and respond to emails with co counsel re brief strategy
           (.5);
  9/2/2015 Review and respond to emails with co counsel re brief strategy    1.5         1
           (.5); Review and plaintiffs' edit Reply Brief (1)
  9/3/2015 Review and respond to emails with co counsel re briefing          0.2         0
           strategy (.2);
  9/8/2015 Review and respond to emails with co counsel re DOJ's draft       0.2         0.2
           reply brief (.2);
  9/9/2015 Confer with co counsel re DOJ reply brief draft (2); Review       4           4
           and respond to emails with co counsel re Reply brief draft (1);
           Review and revise reply brief draft (1)
 9/10/2015 Review and respond to emails with co counsel re Reply brief       1.5         1.5
           draft (.5); Finalize reply brief (1)
 9/11/2015 Review and respond to emails with co counsel re briefs from       0.2         0.2
           DOJ/Veasey (.2);
 9/15/2015 Review and respond to emails re Texas constitution research       0.2         0.2
           (.2);
 9/21/2015 Review and respond to emails re ID remedy (.2);                   0.2         0.2
 11/5/2015 Review and respond to emails re possible 5th Circuit ruling       0.1         0.1
           (.1);
 12/3/2015 Review and respond to emails re possible 5th Circuit ruling       0.1         0.1
           (.1);
12/15/2015 Review and respond to emails re Draft 28(j) letter (.5);          0.5         0
12/16/2015 Confer with co counsel re Draft 28(j) letter (2)                  2           1.5
12/19/2015 Review and respond to emails re Draft 28(j) letter (.2);          0.2         0.2
12/22/2015 Conference call with N. Koragaonkar and E. Rosenberg re                 0.5            0
           strategy for further proceedings (.5)
 1/19/2016 Review and respond to emails with E. Rosenberg re: meet and 1.9               1.9
           confer regarding remedies (.2); call with E. Rosenberg re:
           confer with state regarding remedies (.5); call with all plaintiffs
           re: remedies (1); Meet with A. Gitlin re: response to motion to
           stay (.2)
                                                                                             22
Case 2:13-cv-00193 Document 1145-9 Filed on 04/11/19 in TXSD Page 23 of 33



1/29/2016 Review and respond to emails re: Strategy for potential motion     0.5   0.5
          on mandate (.5);
1/31/2016 Review and respond to emails re Strategy for potential motion      0.2   0.2
          on mandate (.2)
 2/2/2016 Review and respond to emails re Strategy for potential motion      0.2   0.2
          on mandate (.2)
 2/6/2016 Review and respond to emails re advocacy strategy (.1);            0.1   0.1
 2/8/2016 Review and respond to emails re advocacy strategy (.1);            0.1   0.1
 2/9/2016 Confer with co counsel re advocacy strategy (1); Review and        1.3   1.3
          respond to emails re Strategy for potential motion on mandate
          (.3)
2/10/2016 Confer with E. Rosenberg re Emergent relief discussion (.2)        0.2   0.2
2/16/2016 Review and respond to emails re Upcoming strategy (.1);            0.1   0.1
2/17/2016 Review and respond to emails re Relevant election deadlines        0.2   0.2
          (.2);
2/23/2016 Review and respond to emails re Relevant election deadlines        0.1   0.1
          (.1);
 3/2/2016 Review and respond to emails re Scheduling Confer with co-         0.1   0.1
          counsel (.1);
 3/7/2016 Review and respond to emails re Veasey draft motion (.2);          0.2   0.2
 3/8/2016 Confer with co counsel re Veasey motion (2); Review and            2.6   2.6
          respond to emails re Veasey motion (.6)
 3/9/2016 Review and respond to emails re Veasey motion (.3); Review         1.3   1.3
          and respond to emails re 5th Circuit order en banc (1);
3/10/2016 Review and respond to emails re Proposed briefing schedule         0.2   0.2
          (.2);
3/14/2016 Review and respond to emails re Scheduling Confer with co-         0.2   0.2
          counsel (.2);
3/15/2016 Confer with co counsel re 5th Circuit order en banc (1); Confer    2.8   2.8
          with all plaintiffs re 5th Circuit order (1); Review and respond
          to emails re En Banc brief (.2); Review and respond to emails
          re J. Clark's legal research for en banc brief (.6);
3/16/2016 Texas pre-call (.5); Review and respond to emails re Veasey        0.7   0.7
          motion proposal (.2);
3/17/2016 Review and respond to emails re En Banc brief (.3);              0.3     0.3
3/18/2016 Review and respond to emails re J. Clark's legal research for en 0.4     0.4
          banc brief (.2); Review and respond to emails re Letter in
          support of Veasey motion (.2);
3/24/2016 Review and respond to emails re Motion for emergency relief      0.1     0.1
          (.1);
3/28/2016 Review and respond to emails re J. Clark's legal research for en 0.2     0.2
          banc brief (.2);

                                                                                    23
Case 2:13-cv-00193 Document 1145-9 Filed on 04/11/19 in TXSD Page 24 of 33



3/29/2016 Review and respond to emails re BC discriminatory history        1.2   1.2
          research for brief (1); Review and respond to emails re TX
          motion to extend brief deadline (.2);
3/30/2016   Review and respond to emails re En Banc brief research (.2);   0.2   0.2
 4/1/2016   Review and respond to emails re En Banc brief (.2);            0.2   0.2
 4/5/2016   Review and respond to emails re En Banc brief schedule (.3);   0.3   0.3
 4/6/2016   Review and respond to emails re En Banc brief schedule (.3);   0.4   0.4
            Review and respond to emails re Amicus strategy (.1);
 4/9/2016   Review and respond to emails re En Banc brief schedule (.1);   0.1   0.1
4/11/2016   Review and respond to emails re En Banc brief (.2);            0.2   0.2
4/12/2016   Confer with co counsel re 7th Circuit Frank decision (1)       1     1
4/13/2016   Review and respond to emails re Amicus strategy (.4);          0.4   0.4
4/14/2016   Review and respond to emails re Scheduling Confer with co-     0.1   0.1
            counsel (.1);
4/15/2016 TX Plaintiffs' Call - En Banc Briefing, Review and Revise        0.5   0.5
          Supplemental En Banc Brief for the State of Texas Brief (.5)
4/16/2016 Review TX Supplemental Brief (1.5)                               1.5   1.5
4/17/2016 Review and respond to emails re TX supp. brief (.2);             0.2   0.2
4/18/2016 Call with co counsel re TX supp. Brief (1.5); Review and         2.6   2.6
          respond to emails re Scheduling Confer with co-counsel (.1);
          Texas Photo ID Call on Amicus Participation (1)
4/19/2016 Review and respond to emails re Oral argument planning (.2);     0.9   0.9
          Confer with E. Rosenberg re Oral argument planning (.5);
          Review and respond to emails re Appeal brief (.2);
4/20/2016 Review and respond to emails re En Banc brief (.2); Review       2.7   2.7
          and provide feedback for outline of En Banc brief (1.5);
          Review and respond to emails re Oral argument planning (.3);
          Review and respond to emails re Amicus strategy (.2); Texas
          Photo ID Call with BC team (.5)

4/21/2016 Confer with co counsel re En Banc brief outline (1); Review      3     3
          and respond to emails re En Banc brief outline (.9); Review
          and respond to emails re Amicus strategy (.1); Review and
          provide feedback for updated outline of En Banc brief (1)
4/22/2016 Review and respond to emails re En Banc brief (1); Review        2.2   2.2
          and respond to emails re Amicus briefs (.2); Review and
          provide feedback re section of en banc brief (1)
4/25/2016 Review and respond to emails re En Banc brief (1); Review        1.2   1.2
          and respond to emails re Amicus briefs (.2);
4/26/2016 Review and respond to emails re Amicus briefs (.2); Confer       1.7   1.7
          with W. Weiser and S. Rosdeitcher re Draft of intent section
          (1.5)

                                                                                     24
Case 2:13-cv-00193 Document 1145-9 Filed on 04/11/19 in TXSD Page 25 of 33



4/27/2016 Review and respond to emails re En Banc brief (1); Review         2.2   2.2
          Lawyers' Committees' draft of Brief section (1); Review and
          respond to emails re Amicus briefs (.2);
4/28/2016 Review and respond to emails re En Banc brief (1); Review         3.5   3.5
          and provide feedback re section of en banc brief (1); Confer
          with J. Clark and S. Rosdeitcher re Draft en banc brief (1.5)
4/29/2016 Texas brief outline discussion with BC team (.5); Confer with     1.2   1.2
          co counsel re en banc brief (.6); Review and respond to emails
          re communications strategy (.1);
 5/1/2016 Review and respond to emails re intent section (.8); Review       2.3   2.3
          and revise updated draft of en banc draft (1.5)
 5/2/2016 Review and respond to emails re En Banc brief (1); Review         6.3   6.3
          and provide feedback for En Banc brief (5); Review and
          respond to emails re Oral argument planning (.3);
 5/3/2016 Discuss Comments on TX Brief Outline (2); Confer with co          7.5   7.5
          counsel re oral argument/en banc brief (3.2); Review and
          respond to emails re En Banc brief (1.2); Review and respond
          to emails re Oral argument planning (1.1);
 5/4/2016 TX Voter ID Call (1); Review and respond to emails re En          7.5   7.5
          Banc brief (2); Review and respond to emails re Oral argument
          planning (1.3); Review and provide feedback re: J. Clark's
          Statement of Case (1.2); Review and provide feedback for En
          Banc brief (2);
 5/5/2016 Review and respond to emails re En Banc brief (3); Review,        13    13
          provide feedback for, and consolidate En Banc brief (10);
 5/6/2016 Review and respond to emails re En Banc brief (2); Review,        6     6
          provide feedback for, and consolidate En Banc brief (4);
 5/7/2016 Confer with co counsel re En banc brief (1); Review and           11    11
          respond to emails re En Banc brief (3); Review, provide
          feedback for, and consolidate En Banc brief (7);
 5/8/2016 Review and respond to emails re En Banc brief (2); Review,        9     9
          provide feedback for, and consolidate En Banc brief (7);
 5/9/2016 Review and respond to emails re En Banc brief (2); Review,        5     5
          provide feedback for, and consolidate En Banc brief (3);
5/10/2016 Oral argument mock (4); Review and respond to emails re oral      4.2   4.2
          argument (.2);
5/11/2016   Confer with co counsel re oral argument (.6);                   0.6   0.6
5/16/2016   Review DOJ brief and circulate notes (2)                        2     2
5/18/2016   Review and respond to emails re oral argument (.2);             0.2   0.2
5/19/2016   Travel to and from DC for moot (6 hours); Participate in moot   8.7   8.7
            (2.5); Review and respond to emails re communications
            strategy (.2);
                                                                                      25
Case 2:13-cv-00193 Document 1145-9 Filed on 04/11/19 in TXSD Page 26 of 33



5/20/2016 Review and respond to emails re communications strategy (.2);     0.4   0.4
          Review and respond to emails re 28(j) letter (.2);
5/21/2016 Review and respond to emails re communications strategy (.2);     0.5   0.5
          Review and respond to emails re 28(j) letter (.3);
5/22/2016 Review and respond to emails re 28(j) letter (.3);                0.3   0.3
5/23/2016 Flight to NOLA for argument (4.6); Review and respond to          4.7   0.1
          emails re 28(j) letter (.1);
5/24/2016 Oral argument (.5); Review and respond to emails re oral          5.3   0.2
          argument recap (.2); Travel home (4.6)
5/25/2016 Review and respond to emails re oral argument recap (.8); Call    1.8   1.8
          on Texas Photo ID (1)
5/26/2016 Review and respond to emails re oral argument recap (.2);         0.2   0.2
5/31/2016 Review and respond to emails re oral argument recap (.3);         0.3   0.3
 6/1/2016 Confer with co counsel re oral argument recap (1.2); Review       1.5   1.5
          and respond to emails re oral argument recap (.3);
 6/9/2016 Texas oral argument call (.5)                                     0.5   0.5
6/15/2016 Review and respond to J. Clark's memo re Summary of               1     1
          Amicus briefs (1)
6/20/2016 Review and respond to J. Clark's strategy re Summary of           0.2   0.2
          Amicus briefs (.2)
6/27/2016   Review and respond to emails re Amicus strategy (.2)            0.2   0.2
6/29/2016   Review and respond to emails re 28(j) strategy (.2)             0.2   0.2
6/30/2016   Confer w E. Rosenberg re Amicus strategy                        0.4   0.4
 7/6/2016   Review and respond to emails re communications strategy (.2);   0.6   0.6
            Review and respond to emails re 5th circuit outcomes (.4)
 7/7/2016   Confer w co-counsel re 5th circuit outcomes (1)                 1     1
7/11/2016   Confer w co counsel re 5th circuit strategy (1)                 1     1
7/13/2016   Review and respond to emails re 5th circuit outcomes (.2)       0.2   0.2
7/18/2016   Texas Photo ID call (1); Review and respond to emails re        1.4   1.4
            Scheduling Confer with co-counsel (.1); Review and respond
            to emails re communications strategy (.3);
7/20/2016 Review and respond to emails re Supreme Court filing (.2);        2.2   2.2
          Review En Banc decision (1); Review and respond to emails re
          En Banc decision (1);
7/21/2016 Veasey Plaintiffs call (1); Review and respond to emails re En    3.8   3.8
          Banc decision (2); Review J. Clark's En Banc opinion
          summary (.5); Review and respond to emails re Remedy
          implementation (.3);




                                                                                   26
Case 2:13-cv-00193 Document 1145-9 Filed on 04/11/19 in TXSD Page 27 of 33



22-Jul-16 Call with E. Rosenberg and LDF re: response to motion to stay       4.5   4.5
          (.5); Confer with opposing counsel re upcoming elections (1);
          Review and respond to emails re implementation (2); Confer
          with co counsel re implementation (1)
7/23/2016 Confer with co counsel re implementation (1); Review and            5     5
          respond to emails re implementation (4);
7/24/2016 Review and respond to emails re Spanish affidavit for election      2     2
          (2);
7/25/2016 Review and respond to emails re interim remedy positions (2);       2.1   2.1
          Review and respond to emails re Motions schedule (.1);
7/26/2016 Confer w co counsel re interim remedy (1); Review and               2.5   2.5
          respond to emails re interim remedy strategy (1.5);
7/27/2016 Review and respond to emails re alternative identification (.5);    6.8   6.3
          Confer w E. Rosenberg re interim remedy (.8); Confer with co
          counsel re interim remedy (1); Research re interim remedy (4);
          Review and respond to emails re provisional ballots (.5);
7/28/2016 Review and respond to emails re interim remedy (3); Review          5     5
          E. Kelley and J. Clark's research on interim remedy (2)
7/29/2016 Review and respond to emails re public records request (.5);        1.7   1.7
          Review and respond to emails re interim remedy (1.2);
7/30/2016 Confer w/ co-counsel re interim remedy (1.5); Confer with           2     2
          opposing counsel (.5);
 8/1/2016 Review and respond to emails re interim remedy (2)                  2     0
 8/2/2016 Review and respond to emails re interim remedy (1.2); Review        3.9   0
          and respond to emails re settlement negotiations (.2); Confer
          with co counsel re interim remedy (1); Review TX's proposed
          reasonable impediment declaration (.5); Review DOJ's draft of
          Joint Plan (1)
 8/3/2016 Review and respond to emails re interim remedy (1.2); Confer        7.2   5
          with co counsel re interim remedy (1); Draft, circulate, and
          revise draft education/training brief (5);
 8/4/2016 Review and respond to interim order draft (1.2); Revise draft       3.5   2
          education/training brief (2); Review and respond to emails re
          communications strategy (.3)
 8/5/2016 Review and respond to emails re oral argument (.3); Review          3.3   1.3
          and respond to emails re interim relief strategy (1); Final read-
          through of DOJ's, Texas', and private plaintiffs' response briefs
          (2).
 8/8/2016 Confer with co counsel re oral argument/briefs recap (.5);          4.2   3.5
          Review and respond to emails re intent argument (.7);
          Argument preparation (3)


                                                                                        27
Case 2:13-cv-00193 Document 1145-9 Filed on 04/11/19 in TXSD Page 28 of 33



 8/9/2016 Review and respond to emails re intent argument (.3); Hearing     5.3   4
          moot (2); Review and respond to emails re training/education
          material (.5); Hearing prep (1.5); Confer with co counsel re
          Intent Schedule (1)
8/10/2016 Status conference re: Joint Submission of Agreed Terms (1.1);     8.1   4.5
          Confer with opposing counsel re Training and Education (1);
          Review and respond to emails re Hearing recap (1); Review
          and respond to emails re training/education research (2);
          Review and discuss Order on interim plan for elections (1.5);
          Draft outline for upcoming strategy on interim remedy (1.5)

8/11/2016 Review and respond to emails re interim remedy strategy (1.5);    3.9   1.4
          Confer re interim remedy strategy (1); Review and respond to
          emails re training/education strategy (1.4);
8/12/2016 Review and respond to emails re Supplemental CBOs (2);            9     6.5
          Review and respond to emails re training/education research
          (2); Review and respond to emails re interim remedy strategy
          (2.5); Confer re voter education plan and election official
          training program (2); Status conference re voter education plan
          and election official training program (.5)

8/16/2016 Review and respond to emails re training/education research       1     1
          (1);
8/17/2016 Review and respond to emails re outreach strategy for TX          3     3
          counties with upcoming elections (1); Review and respond to
          emails re translation services (2);
8/22/2016 Review and respond to emails re interim remedy strategy (.5);     0.5   0.5
8/23/2016 Review and respond to emails re outreach strategy for TX          0.4   0.4
          counties with upcoming elections (.1); Review and respond to
          emails re interim remedy strategy (.3);
8/24/2016 Review and respond to emails re intimidation issue (.5);          2     1.5
          Review and respond to emails re interim remedy strategy (1.5);
8/26/2016 Confer with co counsel re interim remedy (1); Review and          2.1   1.1
          respond to emails re outreach strategy for TX counties with
          upcoming elections (.1); Review and respond to emails re
          interim remedy strategy (1);
8/27/2016 Confer with co counsel re interim remedy (1.2);                   1.2   0
8/28/2016 Confer with co counsel re interim remedy (1.2); Review and        3.2   0
          respond to emails re interim remedy strategy (2);
8/30/2016 Review and respond to emails re Veasey draft letter to state      1.3   0
          (.8); Review and respond to emails re interim remedy strategy
          (.5);
 9/6/2016 Review and respond to emails re Draft Motion to Enforce           3.4   0
          Remedial order (2); Call with private plaintiffs re: interim

                                                                                      28
Case 2:13-cv-00193 Document 1145-9 Filed on 04/11/19 in TXSD Page 29 of 33



            remedy negotiations (.5); call with plaintiffs & Texas re:
            interim remedy (.9)

  9/7/2016 Review and respond to emails re Motion for Additional Relief      3.4   1.9
           (1.5); Review and respond to emails re LUPE and San Antonio
           NAACP declarations (1.9);
  9/9/2016 Review and respond to emails re outreach strategy for TX          0.7   0.7
           counties (.7);
 9/12/2016 Review and respond to emails re Upcoming hearing (.3);            0.7   0.4
           Review and respond to emails re reasonable impediment
           declarations (.4)
 9/14/2016 Review and respond to emails re Upcoming elections materials      0.6   0.6
           (.6);
 9/15/2016 Review and respond to emails re DOJ pending motion (.4);          0.4   0
 9/16/2016 Confer with co counsel re State's response brief (1); Review      1.9   0
           and respond to emails re DOJ pending motion (.9);
 9/23/2016 Review and respond to emails re Texas' filed petition (.4);       0.4   0
 9/26/2016 Review and respond to emails re Harris County ID poster (.2);     0.2   0.2
 9/27/2016 Confer with co counsel re Cert petition (1.2); Review and         2     0
           respond to emails re intent briefing (.8);
 9/28/2016 Confer with co counsel re Cert petition (1.2); Review and         2.5   1.1
           respond to emails re Cert petition (1.3);
 9/29/2016 Review and respond to emails re Cert petition (.6);               0.6   0.6
 9/30/2016 Review and respond to emails re Scheduling Confer with co-        0.4   0.3
           counsel (.1); Review and respond to emails re Circuits research
           (.3);
 10/3/2016 Review and respond to emails re Harris Count RID                  0.2   0.2
           implementation (.2);
 10/5/2016 Review and respond to emails re media campaign materials          0.3   0.3
           (.3);
 10/6/2016 Confer with co counsel re Cert petition (1.1);                    1.1   0
10/10/2016 Review and respond to emails re Scheduling/approach (.2);         0.2   0.2
10/11/2016 Review and respond to emails re Scheduling/approach (.1);         0.3   0.3
           Review and respond to emails re voter registration deadlines
           (.2);
10/17/2016 Review and respond to emails re draft DOJ FOF (1.2); Confer       3.1   0.8
           with co counsel re FOF draft and opp. Cert status (1.1);
           Review J. Clark's edits to FOF (.8)
10/18/2016 Review and respond to emails re DOJ FOF (.2);                     0.2   0
10/19/2016 Review and respond to emails re DOJ FOF (.2); Confer re           1.2   1.2
           amicus brief coordination (1)
10/24/2016 Meet with co counsel at LDF NYC office re intent discussion       1.5   0
           (1.5)
                                                                                       29
Case 2:13-cv-00193 Document 1145-9 Filed on 04/11/19 in TXSD Page 30 of 33



10/25/2016 Review and respond to emails re education/compliance issues         0.5   0.5
           (.5);
10/26/2016 Review and respond to emails re intent brief working outline        1     0
           (1);
10/27/2016 Confer w co counsel re intent brief call (1)                        1     0
10/28/2016 Review and respond to emails re intent brief working outline        1.7   0
           (.2); Review and respond to emails re intent brief schedule (.5);
           Confer w co counsel re intent brief call (1)
 11/1/2016 Review and respond to emails re intent brief draft/schedule         1.2   0
           (1.2);
 11/2/2016 Review and respond to emails re public education campaign           2.3   0.5
           (.5); Review and respond to emails re intent brief
           draft/schedule (.8); Review J. Clark's draft of brief (1)
 11/3/2016   Review/revise J. Clark's draft of brief (1)                       1     0
 11/4/2016   Review and respond to emails re intent brief draft (.5);          0.5   0
 11/5/2016   Review and respond to emails re intent brief draft (1);           1     0
 11/7/2016   Review and respond to emails re election day follow up (1.2);     1.2   1.2
 11/9/2016   Review and respond to emails re provisional ballots (.8);         0.8   0.8
11/10/2016   Review and respond to emails re intent brief draft (1); Review    1.7   0.7
             and respond to emails re provisional ballots (.7);
11/13/2016   Review and respond to emails re intent brief draft (2);           2     0
11/14/2016   Review and respond to emails re cert petition (.2);               0.2   0.2
11/16/2016   Review and respond to emails re remand brief draft (1.5);         1.5   0
11/17/2016   Review and respond to emails re complete brief draft (1.5);       2.5   0
             Confer w E. Rosenberg re Cert issues (1)
11/18/2016 Review, edit, and respond to emails re opp. Cert. working draft     1.5   0
           (1.5);
11/19/2016 Review, edit, and respond to emails re opp. Cert. working draft     1     0
           (1);
11/21/2016 Review and respond to emails re Scheduling Confer with co-          1.1   0.1
           counsel (.1); Review and respond to emails re complete brief
           draft (1);
11/22/2016 Confer w co counsel re upcoming strategy (1.1); Confer w E.         2.1   0
           Rosenberg re upcoming strategy (1)
11/23/2016 Review and respond to emails re brief draft (1.5); Confer w S.      2.5   1
           Rosdeitcher re brief draft (1)
11/24/2016   Review and respond to emails re brief draft (1.5);                1.5   1.5
11/25/2016   Review and respond to emails re brief draft (1);                  1     0
11/26/2016   Revise and circulate BC's section of opp. to cert (1.5)           1.5   1.5
11/28/2016   Review and respond to emails re Scheduling Confer with co-        2.1   0.1
             counsel (.1); Review and respond to emails re brief draft (2);


                                                                                         30
  Case 2:13-cv-00193 Document 1145-9 Filed on 04/11/19 in TXSD Page 31 of 33



 11/29/2016 Confer with S. Rosdeitcher re reply brief (1); Confer with co-       3            0
            counsel re reply breifing (1); Review and respond to emails re
            brief outline/strategy (1);


Vishal
Agraharkar

   8/27/2013 Call with potential partner (.75); Call with potential co-counsel          1.5            0
             (.75)
   8/30/2013 Call with potential co-counsel (.75); Call with Sonia LC (.25);            2.2            0
             Research into locations (1.2)
    9/4/2013 Plaintiff search plan (2); Call with Sonia (.25)                          2.25            0
    9/5/2013 Reviewing research that Hannah (Legal Intern) did into                       3            0
             research into TX locations; Plaintiff search into locations (3)
   9/6/2013    Plaintiff search into locations (3)                                        3            0
   9/7/2013    Flight to TX (4)                                                           4            0
   9/8/2013    Searching for witnesses/voter education (12)                              12            0
   9/9/2013    Searching for witnesses/voter education (12)                              12            0
  9/10/2013    Searching for witnesses/voter education (12)                              12            0
  9/11/2013    Searching for witnesses/voter education (12)                              12            0
  9/12/2013    Searching for witnesses/voter education (12)                              12            0
  9/13/2013    Searching for witnesses/voter education (6)                                6            0
 10/21/2013    Call with A.L. about possible witnesses (.25)                           0.25            0
  11/6/2013    Call with LC and Deschert about plaintiff search (1)                       1            0
 11/21/2013    Drafting contract for ind. contractor (.75)                             0.75            0
  2/14/2014    Meeting with potential witness A. (.5)                                   0.5            0
  5/14/2014    Miscellaneous hearing re: DE (.3)                                        0.3            0
  5/15/2014    Preparing for Cesinger deposition (2.5)                                  2.5            0
  5/16/2014    Preparing for Cesinger deposition (3)                                      3            0
  5/20/2014    Cesinger deposition (5.2)                                                5.2            0
   6/5/2014    Cesinger deposition (3.2)                                                3.2            0
  7/22/2014    David Robledo Call (.5); Call about affected persons (.75)              0.75            0

Jennifer
Clark
   4/30/2014 Joe Peters Deposition (7.9)                                         7.9                   0

Maximillian
Feldman
   9/18/2017 Analysis regarding district court and Fifth Circuit opinions        7.4          0
             (7.4)
                                                                                                  31
Case 2:13-cv-00193 Document 1145-9 Filed on 04/11/19 in TXSD Page 32 of 33



 9/19/2017 Research and analysis regarding VRA and consitutional issues        6.3   0
           (1.6); Analyze post-trial proposed findings of fact and law
           (4.7)
 9/20/2017 Research and analysis regarding remedies (1.5); Research and        2.8   0
           analysis regarding VRA and constitutional issues (1.3)
 9/25/2017 Review proposed outline of issues for brief (.5); Telephone         1     0
           conference with co-counsel (.5)
 10/4/2017 Analysis regarding mootness issue (1.0)                             1     0
 10/5/2017 Analysis regarding mootness issue (2.1); Analysis regarding         2.3   0
           intentional discrimination issue (.2)
10/10/2017   Analysis regarding mootness issues (.6)                           0.6   0
10/11/2017   Analysis regarding proposed brief outline (1.1)                   1.1   0
10/16/2017   Research regarding burdens of proof (2.4)                         2.4   0
10/17/2017   Research regarding burdens of proof (1.4)                         1.4   0
10/18/2017   Analysis regarding Appellants’ brief (4.2); Research regarding    6.8   0
             mootness and scope of relief (2.6)
10/19/2017   Telephone conference with co-counsel (.5)                         0.5   0
10/20/2017   Analysis regarding cases cited in Appellants’ brief (7.2)         7.2   0
10/23/2017   Analysis regarding cases cited in Appellants’ brief (7.6)         7.6   0
10/24/2017   Analysis regarding cases cited in appellants’ brief (.5);         2.3   0
             Research in support of opposition brief (1.8)
10/25/2017 Analysis regarding cases (2.5); analysis regarding amicus brief     3.3   0
           (1.8)
10/26/2017 Draft portions of brief and analyze record (4.9)                    4.9   0
10/27/2017 Analysis regarding turnout issue and draft proposed response        4.3   0
           to amici on turnout issue (2.9); Analyze DOJ brief (1.4)
10/30/2017 Review working draft of opposition brief (3.0)                      3     0
10/31/2017 Telephone conference with co-counsel regarding opposition           4.9   0
           brief (.8); Analysis regarding opposition brief (4.1)
 11/3/2017   Review and revise opposition brief (4.9)                          4.9   0
 11/6/2017   Review and revise opposition brief (5.2)                          5.2   0
11/14/2017   Prep for oral argument (4.5)                                      4.5   0
11/15/2017   Prep for oral argument (4.5)                                      2.5   0
11/20/2017   Review Fifth Circuit reply brief (.7)                             0.7   0
 12/8/2017   Team telephone conference regarding potential motion to           1.5   0
             vacate stay (.3); Research regarding Texas election schedule in
             support of potential motion to vacate stay (1.2)
12/14/2017 Revise motion to lift stay and email correspondence with team       2.3   0
           regarding same (2.3)
12/15/2017 Review motion to lift stay (.4)                                     0.4   0


                                                                                         32
Case 2:13-cv-00193 Document 1145-9 Filed on 04/11/19 in TXSD Page 33 of 33



 2/5/2018 Analysis regarding updated Texas public-facing voting           1.5   0
          materials and email correspondence with Ms. Aden regarding
          same (1.5)
6/27/2018 Analyze Texas’s motion to dismiss (.6)                          0.6   0
6/28/2018 Research iso opposition to Texas’s motion to dismiss (2.1)      2.1   0
 7/2/2018 Research iso opposition to Texas’s motion to dismiss (1.5);     2.1   0
          Telephone conference with co-counsel regarding opposition to
          motion to dismiss (.6)
7/10/2018 Telephone conference with co-counsel regarding opposition to    0.9   0
          motion to dismiss (.9)
7/11/2018 Legal research in support of opposition to motion to dismiss    2.1   0
          (2.1)
7/12/2018 Legal research in support of opposition to motion to dismiss    5.3   0
          (5.3)
7/16/2018 Research regarding opposition to motion to dismiss and revise   2.8   0
          same (2.8)
7/18/2018 Research regarding opposition to motion to dismiss and revise   3.2   0
          same (3.2)
7/19/2018 Research regarding opposition to motion to dismiss and revise   0.4   0
          same (.4)
7/20/2018 Review draft opposition to motion to dismiss (.1)               0.1   0
7/30/2018 Review draft opposition to motion to dismiss (.9)               0.9   0
10/9/2018 Telephone conference with co-counsel regarding fees (.4)        0.4   0




                                                                                    33
